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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                  Case No. 4:10-CR-073-BLW
                      Plaintiff,
                                                  ORDER
        v.

 JULIO JIMENEZ-MORALES, et al.,

                      Defendants.


       The Court has before it Defendant Lopez’s Motion to Continue Trial (Dkt. 128),

and Defendant Penaloza-Paramo’s Motion to Continue Trial (Dkt. 129). The trial is

scheduled to commence on March 28, 2011. The attorneys for both defendants seek a

continuance because they have previous engagements that week, and they suggest it

would be difficult to change their plans.

       The Court is extremely sympathetic to counsel’s scheduling conflicts. Especially

where counsel have made plans to attend training by the Administrative Office of the

United States Courts for CJA Panel attorneys. However, neither attorney indicated that

he absolutely cannot attend trial as scheduled. This case has been pending for nearly a

year, with several defendants detained that entire time. Counsel’s scheduling conflict

must be balanced against the defendants’ and the public’s right to a speedy trial. 18

U.S.C. § 3161(h((7). Under these circumstances of this case, the Court cannot grant a

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continuance.

                                       ORDER

      IT IS ORDERED:

      1.       Defendant Lopez’s Motion to Continue Trial (Dkt. 128) is DENIED.

      2.       Defendant Penaloza-Paramo’s Motion to Continue (Dkt. 129 is DENIED.

                                DATED: February 25, 2011




                                 Honorable B. Lynn Winmill
                                 Chief U. S. District Judge




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